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        MICHAEL JOHN SCOTT,

                            'HIHQGDQW

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          AnUnited States Passport and an United States Passport Card issued to the above

 named defendant were surrendered to the Court pursuant to a special condition of the

 DSSHDUDQFHERQGDQGSRVWHGZLWKWKH&OHUNRQDecember 12, 2018 and February 13,

 2019Judgment
                  was entered in this matter on January 24, 2020, (Doc #1036).

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           $EVHQFHDQ\REMHFWLRQVWKH&OHUNZLOOIRUZDUGZLWKRXWDGGLWLRQDOQRWLFHWKH

  GHIHQGDQW¶VSDVVSRUWWRDepartment of StateWKLUW\  GD\VIURPWKHGDWHRI

  WKHILOLQJRIWKLVQRWLFH2EMHFWLRQVWRWKHUHWXUQRIWKHSDVVSRUWWRDepartment of

  StateVKRXOGEHGLUHFWHGWRWKH&RXUWLQWKHIRUPRIDPRWLRQDQGVKRXOGLQFOXGHWKH

  DOWHUQDWLYHDFWLRQUHTXHVWHGDVZHOODVDSURSRVHGRUGHU

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